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                                              BIOGRAPHY: S. A. Hayden Briggle


                            S. A. Hayden Briggle
                            Associate

                            AREAS OF CONCENTRATION
                            • Corporate
                            • Health
                            • Litigation

                            EXPERIENCE
                            Hayden Briggle is an associate in Fulbright & Jaworski L.L.P.'s Austin office. He
                            focuses his practice on corporate law, health care law and litigation matters.

                            EDUCATIONAL BACKGROUND
                            2007 - J.D., honors, The University of Texas School of Law
                            2004 - M.P.A., Masters in Professional Accounting, The University of Texas at
                            Austin
 S. A. Hayden Briggle
 hbriggle@fulbright.com     2002 - B.A., honors, Plan II and Spanish, The University of Texas at Austin
 D: +1 512 536 2410
                            While in law school, Hayden was a member of the Texas Law Review.
 Austin
 98 San Jacinto Boulevard   He is admitted to practice law in Texas.
 Suite 1100
 Austin, TX 78701-4255
 T: +1 512 474 5201         INTERESTS
    Austin
 F: +1 512 536 4598         Hayden enjoys all sports, especially football, hunting and golf.
   Beijing
   Dallas
   Denver
   Dubai
   Hong Kong
   Houston
   London
   Los Angeles
   Minneapolis
   Munich
   New York
   Pittsburgh-Southpointe
   Riyadh
   San Antonio
   St Louis
   Washington, D.C.
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                                            BIOGRAPHY: Jerod Christopher Neas


                            Jerod Christopher Neas
                            Counsel

                            AREAS OF CONCENTRATION
                            • Corporate

                            EXPERIENCE
                            Jerod Neas joined the Austin office of Fulbright & Jaworski L.L.P. in 2007. As an
                            associate, he works with the firm's corporate practice group.

                            PUBLICATIONS
                            • "Dura Duress: Loss Causation Under Rule 10b-5," 78 U. Colo. L. Rev. 347
                              (2007)

                            EDUCATIONAL BACKGROUND
                            2007 - J.D., University of Colorado
 Jerod Christopher Neas     2004 - B.S., high distinction, University of Colorado
 jneas@fulbright.com
 D: +1 512 536 2454
                            While in law school, Jerod was an associate editor of the University of Colorado
 Austin                     Law Review.
 98 San Jacinto Boulevard
 Suite 1100
 Austin, TX 78701-4255
 T: +1 512 474 5201
 F: +1 512 536 4598

 Industries
   • Banking and Finance
   • Energy and Utilities
   • Business Services
   •Austin
      Real Estate
   Beijing
   Dallas
   Denver
   Dubai
   Hong Kong
   Houston
   London
   Los Angeles
   Minneapolis
   Munich
   New York
   Pittsburgh-Southpointe
   Riyadh
   San Antonio
   St Louis
   Washington, D.C.
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                                                            BIOGRAPHY: Holly Marie Kipp


                                         Holly Marie Kipp
                                         Associate

                                         AREAS OF CONCENTRATION
                                         • Litigation
                                         • Pharmaceutical and Medical Devices

                                         EXPERIENCE
                                         Fulbright & Jaworski L.L.P. counsel Holly Kipp focuses her practice on complex
                                         litigation emphasizing pharmaceutical and commercial litigation.         She is
                                         experienced in litigation readiness, preparing document retention policies and
                                         litigation holds, the processing, review and production of electronic documents,
                                         analyzing due diligence, and other matters.

                                         PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
                                         • State Bar of Texas
    Holly Marie Kipp
    hkipp@fulbright.com
    D: +1 512 536 5267                   PUBLICATIONS
                                         • Co-Author with Lana Varney, "Seeing Is Believing: Trial Exhibits That
    Austin
    98 San Jacinto Boulevard               Work," IADC 2009 Midyear Meeting, Carlsbad, California, February 21,
    Suite 1100                             2009
    Austin, TX 78701-4255
    T: +1 512 474 5201                   •   Co-Author with Lana Varney, "Causation and the Role of Meta-Analysis in
    F: +1 512 536 4598
                                             Product Liability Litigation,” 2008 Page Keeton Civil Litigation Conference,
    Experience                               Austin, Texas, October 31, 2008
      • Litigation Readiness
      • Reviewing and producing          •   Co-Author with Lana Varney, "Demonstrative Evidence: The Jury Hears
        documents                            What it Sees", presented at the 2008 SBOT 21st Annual Advanced Evidence
      • Analyzing due diligence
      • Preparing document retention         and Discovery Course, April 24-25, 2008, Houston, Texas, and May 22-23,
        policies                             2008, San Antonio, Texas
    Industries                           •   Co-Author with Terry Tottenham, "Pharmaceutical Mass Tort Litigation
      • Banking and Finance
      • Pharmaceutical Medical Devices       Update," presented at the 14th Annual AdvaMed Medical Malpractice Course,
      • Insurance                            Santa Fe, New Mexico, March 15-16, 2007
•      Austin
       Beijing                           SPEECHES
       Dallas
       Denver                            • "I Know That's What I Wrote, But It's Not What I Meant: Avoiding The E-
       Dubai
       Hong Kong
                                            Mail Trap," Presented at the Healthcare Businesswomen's Association
       Houston                              Leadership Conference, November 6, 2008
       London
       Los Angeles
       Minneapolis                       EDUCATIONAL BACKGROUND
       Munich
       New York
                                         2006 - J.D., The University of Texas School of Law, Austin, Texas
       Pittsburgh-Southpointe            2002 - B.A., Political Science, Texas A&M University
       Riyadh
       San Antonio
       St Louis                          While in law school, Holly worked as Staff Editor for the Texas Review of
       Washington, D.C.
                                         Entertainment and Sports Law.
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                                                  BIOGRAPHY: Leaf Dilts McGregor


                                Leaf Dilts McGregor
                                Associate

                                AREAS OF CONCENTRATION
                                • Litigation
                                • e-Discovery and Information Governance
                                • Labor and Employment

                                EXPERIENCE
                                Leaf Dilts McGregor joined the Minneapolis office of Fulbright & Jaworski L.L.P.
                                in 2008. As an associate, he works in the litigation department.

                                REPRESENTATIVE EXPERIENCE
                                Leaf has recently:

                                •   Defended class actions, successfully avoiding certification
 Leaf Dilts McGregor
 smcgregor@fulbright.com        •   Defended several claims based on federal consumer lending regulations,
 D: +1 612 321 2239
                                    including FDCPA, FCRA, RESPA and TILA actions
 Minneapolis                    •   Brought complex commercial foreclosure actions
 2100 IDS Center
 80 South Eighth Street         •   Defended complex commercial eviction action
 Minneapolis, MN 55402-2112
 T: +1 612 321 2800             •   Managed review and production of e-discovery in several cases
 F: +1 612 321 2288
                                •   Helped coordinate a large, international, internal investigation
 Industries
  • Energy and Utilities
                                •   Successfully drafted and argued dispositive motions
  • Construction and Building
    Materials
                                •   Obtained receivership in complex commercial foreclosure actions
  • Education
                                PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
                                • The Federal Bar Association
                                •   The State Bar of Minnesota
                                •   Adjunct Professor, University of Minnesota Law School, Legal Research and
                                    Writing (2010 - 2011)

                                PUBLICATIONS
                                • Co-author with Cynthia Bremer, "Using Negotiation and Settlement Skills to
                                  Your Tactical Advantage," Minnesota CLE, March 3, 2010
                                •   Co-author with Ronn Kreps and Meika Vogel, "The Smoking Gun (in 140
                                    Characters or Less): Getting Your E-Discovery into Evidence at Trial or on
                                    Summary Judgment," Minnesota CLE, August 2009
                                •   Co-author with Cynthia Bremer, "8th Circuit Update," 2009 Upper Midwest
                                    Employment Law Institute, May 28, 2009

                                EDUCATIONAL BACKGROUND
 Case1:09-cv-00799-SJJ
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                                             BIOGRAPHY: Leaf Dilts McGregor

                           2008 - J.D., magna cum laude, University of Minnesota
                           1998 - B.A., with honors, English, Illinois State University

                           Leaf is admitted to practice law in Minnesota State Court and in Federal Court in
                           the District of Minnesota.

                           INTERESTS
                           Leaf enjoys running, cycling, reading and traveling.




  Austin
  Beijing
  Dallas
  Denver
  Dubai
  Hong Kong
  Houston
  London
  Los Angeles
  Minneapolis
  Munich
  New York
  Pittsburgh-Southpointe
  Riyadh
  San Antonio
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                                              BIOGRAPHY: Mary W. Murchison


                            Mary W. Murchison
                            Project Assistant

                            AREAS OF CONCENTRATION
                            • Intellectual Property and Technology
                            • Corporate

                            EXPERIENCE
                            A Project Assistant in Fulbright & Jaworski L.L.P’s Intellectual Property &
                            Technology Department, Mary focuses on U.S. and international trademark
                            prosecution, litigation and general enforcement matters on behalf of a wide variety
                            of clients in a several industries.

                            REPRESENTATIVE EXPERIENCE
                            • Manage national and international trademark prosecution portfolios for clients
                              from the clearance search stage through post-registration maintenance
 Mary W. Murchison
 mmurchison@fulbright.com   •   Maintain daily communications with clients regarding their trademark
 D: +1 512 536 2428
                                prosecution matters
 Austin                     •   Audit and inventory incoming trademark portfolios
 98 San Jacinto Boulevard
 Suite 1100                 •   Coordinate client corporate filings with Secretary of State
 Austin, TX 78701-4255
 T: +1 512 474 5201         •   Research and retrieval of corporate and other statutory documents from
 F: +1 512 536 4598
                                numerous state agencies
                            •   Maintain numerous dockets and enforcement files
                            •   Internet research

   Austin
                            •   Electronic document filing
   Beijing
   Dallas                   PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
   Denver                   • Lexis-Nexis Level I Certificate of Mastery in Initial Case Analysis, Site
   Dubai                      Checking, Locating and Profiling People, and Corporate and Financial
   Hong Kong
   Houston
                              Research
   London
   Los Angeles              EDUCATIONAL BACKGROUND
   Minneapolis              1994 - B.A., Liberal Arts, St. Edwards University
   Munich
   New York                 CIVIC INVOLVEMENT
   Pittsburgh-Southpointe
   Riyadh
                            • Paramount Theatre's 95th & State Theatre's 75th Anniversary Gala, auction
   San Antonio                 committee (2011)
   St Louis
   Washington, D.C.
                            •   HeartGift Foundation, committee member (2010)
                            •   Volunteer Adult Literacy Instructor, Literacy Austin (2005 - 2007)
 Case1:09-cv-00799-SJJ
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                                                          BIOGRAPHY: Jennifer Sherrill


                                      Jennifer Sherrill
                                      Counsel

                                      AREAS OF CONCENTRATION
                                      • Real Estate
                                      • Litigation
                                      • Corporate
                                      • Mergers & Acquisitions

                                      EXPERIENCE
                                      As counsel in Fulbright & Jaworski L.L.P.'s Austin location, Jennifer Sherrill
                                      focuses her practice on real estate matters. Jennifer's experience includes
                                      commercial and multi-family residential property sales and purchases,
                                      construction matters, commercial leasing, green development projects, property-
                                      related disputes, litigation, environmental issues, oil and gas matters,
 Jennifer Sherrill                    sustainable/alternate energy and wind energy development projects. She is a
 jsherrill@fulbright.com              member of Fulbright's Change in Climate Practice Group.
 D: +1 512 536 5249
                                      Before joining Fulbright in 2006, Jennifer was Assistant General Counsel,
 Austin                               Litigation Counsel and Director of Real Estate for a Fortune 500 manufacturing
 98 San Jacinto Boulevard
 Suite 1100                           company. She was second in command for all litigation and was responsible for
 Austin, TX 78701-4255                internal investigations and compliance matters. As Director of Real Estate, she
 T: +1 512 474 5201                   managed a portfolio of more than 550 leased and owned properties, both domestic
 F: +1 512 536 4598
                                      and international. In that capacity, and currently as outside counsel for that
 Experience                           company, she coordinates the disposition of the company's excess properties in the
   • Commercial and multi-family      U.S. and several countries, and has developed a property auction protocol to
     residential property sales and   facilitate that effort.
     purchases
   • Construction matters
   • Commercial leasing               PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
   • Property-related disputes and    • CREW Network
     litigation
   • Alternate/sustainable energy             •   CREW Network Communication and Editorial Committee (2010)
     projects
                                              •   CREW Network Recognition Committee (2009)
 Industries
   • Real Estate                      •   CREW Austin, Inc
   • Manufacturing
   • Health Care Products and                 •   Commercial Real Estate Leadership Conference (2009)
     Services
   • Consumer Products                        •   Board of Directors (2008 - 2010)
   • Alternative Energy
   • Manufacturing                                    •   Treasurer (2010 - 2011)
                                                      •   Secretary (2009 - 2010)
                                              •   Co-Chair, Foundation (Advisor CREW Careers/U CREW) (2008 -
                                                  2009)
                                              •   Co-Chair CREW Careers (2007 - 2008)
                                      •   Central Texas Commercial Association of Real Estate Professionals
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                                            BIOGRAPHY: Jennifer Sherrill

                               •   Board of Directors (2008 - 2011)
                               •   Education Committee (2008 - 2010)
                               •   Residential Outreach Committee (2009 - 2010)
                               •   Liaison between CTCAR and CREW Austin, Inc.
                        •   Real Estate Counsel of Austin
                        •   Missouri Bar Association
                        •   Texas Bar Association

                        PROFESSIONAL HONORS
                        • Nominated for "20 Under 40," CREW Network, Inc. (May 2009)

                        PUBLICATIONS
                        • "Making the Corporate Cut," Commercial Investment Real Estate Magazine,
                          May/June 2008.

                        SPEECHES
                        • "Green-- It's the New Black: Future of Green -- Considerations for the Real
                           Estate Professional", Moderator, 2010 CREW Network Convention, San
                           Francisco, California, October 21, 2010
                        •   "On the Ropes: Commercial Real Estate Relationships in Today's Challenging
                            Climate: Considerations for Lenders, Landlords, Tenants, and Brokers,"
                            Moderator, Central Texas Commercial Association of Realtors (CTCAR),
                            Austin, Texas, September 25, 2009
                        •   "Not Easy Being Green," Panelist, CREW Austin, Austin, Texas, June 16,
                            2009
                        •   "Effective Management of Corporate Real Estate Portfolios," 2008 CREW
                            Network Convention, Houston, Texas, October 16, 2008
                        •   "Commercial Leases and Acquisitions: Serving the Unique Needs of Real
                            Estate Investors and Users," Instructor, Austin, Texas, July 17, 2008
                        •   "Effective Management of Corporate Real Estate Portfolios," Panelist,
                            Success Series 2007 by CCIM & IREM, San Antonio, Texas, October 19,
                            2007
                        •   "Real Estate Development and the Needs of the New Corporate America,"
                            Panelist, Lorman Education Seminar, Austin, Texas, February 23, 2007
                        •   "The Top Ten Things You Should Do and Shouldn't Do in Managing
                            Corporate Real Estate," Panelist, ACCA Austin chapter meeting, Austin,
                            Texas, February 15, 2007

                        EDUCATIONAL BACKGROUND
                        1995 - J.D., The University of Texas School of Law
 Case1:09-cv-00799-SJJ
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                                            BIOGRAPHY: Jennifer Sherrill

                        1992 - B.A., The University of Texas

                        Jennifer was a law clerk to former Texas Supreme Court Judge Lloyd Doggett.
                        She is admitted to practice law in Texas and Missouri.

                        INTERESTS
                        Jennifer enjoys spending time with her husband and four children, snow skiing,
                        traveling, running, reading and listening to live music.

                        CIVIC INVOLVEMENT
                        • American Lung Associate (Austin Chapter)
                        •   Board Member (2010)



  Austin
  Beijing
  Dallas
  Denver
  Dubai
  Hong Kong
  Houston
  London
  Los Angeles
  Minneapolis
  Munich
  New York
  Pittsburgh-
  Southpointe
  Riyadh
  San Antonio
  St Louis
  Washington, D.C.
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                                                          BIOGRAPHY: Travis J. Siebeneicher


                                         Travis J. Siebeneicher
                                         Sr. Associate

                                         AREAS OF CONCENTRATION
                                         • Real Estate
                                         • Corporate
                                         • Alternative Energy
                                         • Climate Change
                                         • Bankruptcy and Insolvency

                                         EXPERIENCE
                                         Travis Siebeneicher focuses his practice on transactional law with a focus on real
                                         estate and corporate matters. Travis's experience includes assisting with the
                                         representation of clients related to the following:

                                         •   Purchase, sale, financing and development of office, industrial, shopping
 Travis J. Siebeneicher
 tsiebeneicher@fulbright.com                 center and multi-family residential projects
 D: +1 512 536 4585
                                         •   Formation of joint ventures with equity and debt interests in commercial real
 Austin                                      estate projects
 98 San Jacinto Boulevard
 Suite 1100
                                         •   Construction matters
 Austin, TX 78701-4255
 T: +1 512 474 5201
                                         •   Commercial leasing and subleasing (tenant and landlord)
 F: +1 512 536 4598
                                         •   Leasing and development of health care projects
 Experience                              •   The development of sustainable–alternative energy projects
   • Real estate and corporate matters
                                         PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
 Industries                              • Austin Bar Association
   • Real Estate
                                                 •   Real Estate Section – Board of Directors (2008-2009)
                                         •   Austin Young Lawyers Association
                                         •   Real Estate Counsel of Austin
                                                 •   Transportation Committee
                                                 •   Affordable Housing Committee
                                         •   Texas Bar Association

                                         PUBLICATIONS
                                         • Co-author, "Siting Projects in the U.S.," US-China Quarterly Market Review,
                                           a collaborative report by American Council on Renewable Energy (ACORE)
                                           and Chinese Renewable Energies Industries Association (CREIA), May 2011
                                         •   Co-author with Ronald J. Mann, "Just One Click: The Reality of Internet
                                             Retail Contracting," 108 Columbia Law Review 984, May 2008
                                         •   Co-author with Jane Snoddy Smith, “Preparing Form Leases for Mixed-Use
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                                           BIOGRAPHY: Travis J. Siebeneicher

                               Projects,” 21 Commercial Leasing Law & Strategy 1, June 2008

                           SPEECHES
                           • Co-panelist with Jerry Converse, “Acquisition Letters of Intent: The What,
                              Why, When and How,” Commercial Leases and Acquisitions: Serving the
                              Unique Needs of Real Estate Investors and Users (CTCAR-CLE), Austin,
                              Texas, July 17, 2008
                           •   Co-panelist with Amy Mitchell, “How to Add Value Negotiating Work
                               Letters,” Commercial Leases and Acquisitions: Serving the Unique Needs of
                               Real Estate Investors and Users (CTCAR-CLE), Austin, Texas, July 17, 2008
                           •   Panelist, "Real Estate Development and the Needs of New Corporate
                               America," Lorman Education Seminar, Austin, Texas, February 23, 2007

                           EDUCATIONAL BACKGROUND
  Austin
                           2006 - J.D., high honors, University of Texas School of Law
  Beijing                  2003 - B.B.A., summa cum laude, Economics, Texas State University
  Dallas
  Denver                   While in law school, Travis was an Articles Editor for the Texas Law Review; a
  Dubai                    fellow in the Center for Law, Business, & Economics; and a member of the Order
  Hong Kong
                           of the Coif and of the University of Texas Chancellors. Travis is admitted to
  Houston
  London                   practice law in Texas.
  Los Angeles
  Minneapolis
  Munich
  New York
  Pittsburgh-Southpointe
  Riyadh
  San Antonio
  St Louis
  Washington, D.C.
